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 1   Mark Waecker (SBN# 81375)
     LAW OFFICES OF MARK WAECKER
 2   300 South Grand Avenue, 24th Floor,
     Los Angeles, CA 90071
 3   Telephone (213) 955-4500
     Fax (213) 955-4560
 4   Email: mark@waeckerlaw.com
     Attorney for Defendant
 5   IMESH PERERA
 6
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )      Case No. 2:10-cr-00347-MCE
10                                                  )
                    Plaintiff,                      )
11          vs.                                     )
                                                    )      STIPULATION AND ORDER TO
12                                                  )      CONTINUE STATUS CONFERENCE
     DISHAN PERERA, et al.
                                                    )
13                                                  )      Court: Hon. Morrison C. England
                    Defendant.                      )      Time: 9:00 a.m.
14                                                  )      Date: August 8, 2013
                                                    )
15
16          Defendant Imesh Perera, by and through his undersigned counsel and the United States

17   Government, by and through Assistant United States Attorney Todd Leras, hereby agree and

18   stipulate that the status conference currently scheduled for August 8, 2013 be continued until
19   September 26, 2013. The defendant is charged in a five count indictment alleging violations of
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     21 U.S.C. §§s 841 (a) (1) and § 846 – possession with intent to distribute and conspiracy to
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     distribute methamphetamine. The government has previously provided a Plea Agreement to the
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     defendant. It includes a factual basis stretching over a period of more than one year and
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24   involving numerous intercepted telephone conversations. The defense has requested the

25   government provide some additional information clarifying relevant aspects as to some of the

26   incidents mentioned in the factual basis. The government has recently provided this information
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     and the defense needs additional time to review the materials. The parties therefore agree that
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 1   additional time is needed to finalize the terms of the plea agreement. Therefore, the parties
 2   request a status conference date of September 26, 2013 and that date is available with the Court.
 3
            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h) (8) (i) for
 4
     defense preparation and under local code T4.
 5
     Dated: August 5, 2013
 6
 7                                                Respectfully submitted,
                                                  LAW OFFICES OF MARK WAECKER
 8
                                                  _______/s/_Mark Waecker__________
 9                                                Mark Waecker, Esq.
10                                                Attorney for Defendant,
11                                                IMESH PERERA

12   Dated: August 5, 2013

13                                                _______/s/__Todd Leras____________
                                                  Todd Leras
14                                                Assistant United States Attorney
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16                                                Attorney for Plaintiff
                                                  UNITED STATES OF AMERICA
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 1                                                 ORDER
 2          Good cause having been shown, it is hereby ordered that the status conference currently
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     scheduled for August 8, 2013, is continued to September 26, 2013 at 9:00 a.m. in Courtroom
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     7. Based on the representation of the parties, the Court finds that the ends of justice served by
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     granting the continuance outweigh the best interest of the public and the defendant in a speedy
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 7   trial. Time under the Speedy Trial Act shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(4) and

 8   Local Code T-4 up to and including September 26, 2013.

 9          IT IS SO ORDERED.
10   Dated: August 7, 2013
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